Case 2:04-cr-00005-REM-JSK Document 104 Filed 10/02/07 Page 1 of 2 PageID #: 219



                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 TOMAS O. CASABLANCA,

               Petitioner,

 v.                                                       Civil Action No. 2:05CV94
                                                          Criminal Action No. 2:04CR5(1)
                                                          (Judge Maxwell)

 UNITED STATES OF AMERICA,

               Respondent.

                                           ORDER

        It will be recalled that on April 3, 2007, Magistrate Judge Kaull filed his

 Opinion/Report and Recommendation, wherein the Petitioner was directed, in

 accordance with 28 U.S.C. § 636(b)(1), to file with the Clerk of Court any written

 objections within ten (10) days after being served with a copy of the Report and

 Recommendation. On May 30, 2007, after successfully seeking an extension to do so,

 Petitioner filed his Objections to the Magistrate Judge’s Opinion/Report and

 Recommendation.

        Upon examination of the report from the Magistrate Judge, it appears to the

 Court that the issues raised by the Petitioner in his motion, which was filed pursuant to

 28 U.S.C. §2255, wherein Petitioner seeks release from imprisonment, as well as the

 issues raised by the Respondent in its Motion to Dismiss, were thoroughly considered

 by Magistrate Judge Kaull in his Report and Recommendation. Upon consideration of

 the Petitioner’s objections, the Court finds that the Petitioner has not raised any issues

 that were not throughly considered by the Magistrate Judge in his Report and

 Recommendation. Moreover, the Court, upon an independent de novo consideration of

 all matters now before it, is of the opinion that the Report and Recommendation
Case 2:04-cr-00005-REM-JSK Document 104 Filed 10/02/07 Page 2 of 2 PageID #: 220



 accurately reflects the law applicable to the facts and circumstances before the Court in

 this action. Therefore, it is

        ORDERED that Magistrate Judge Kaull’s Report and Recommendation be, and

 the same hereby is, accepted in whole and that this action be disposed of in accordance

 with the recommendation of the Magistrate Judge. Accordingly, it is

        ORDERED that Respondent’s Motion to Dismiss be, and the same hereby is,

 GRANTED in part. It is further

        ORDERED that the Petitioner’s §2255 Motion be, and the same hereby is,

 DENIED. It is further

        ORDERED that the above styled action be, and the same hereby is, DISMISSED

 with prejudice and STRICKEN from the docket of this Court. It is further

        ORDERED that, if Petitioner should desire to appeal the decision of this Court,

 written notice of appeal must be received by the Clerk of this Court within thirty (30)

 days from the date of the entry of the Judgment Order, pursuant to Rule 4 of the

 Federal Rules of Appellate Procedure. The $5.00 filing fee for the notice of appeal and

 the $450.00 docketing fee should also be submitted with the notice of appeal. In the

 alternative, at the time the notice of appeal is submitted, Petitioner may, in accordance

 with the provisions of Rule 24(a) of the Federal Rules of Appellate Procedure, seek

 leave to proceed in forma pauperis from the United States Court of Appeals for the

 Fourth Circuit.

        ENTER: October 2 , 2007

                                                          /s/ Robert E. Maxwell
                                                        United States District Judge
